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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                             Case No.: 24-20511-CIV-JB-PMH
 Mid-Castle Development Limited,
       Plaintiff,
 v.
 Liqueous LP and Jacob Fernane,
       Defendants.
                                  /



                           PLAINTIFF’S OPPOSITION TO
                       DEFENDANTS’ EXPEDITED MOTION TO
                         QUASH THIRD-PARTY SUBPOENAS



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                                      I.    INTRODUCTION

         Defendants simultaneously moved to quash Plaintiff’s third-party subpoenas and for a

 protective order because recently received third party discovery has confirmed what Plaintiff

 suspected all along: (i) that despite Defendants representation to the Court that they still possessed

 all the disputed stock, they in fact dumped half of it for millions in profit; and (ii) they transferred

 the rest to a number of brokerages. Having been caught red-handed in lying to the Court,

 Defendants now seek to end third-party discovery. Defendants’ Motion fails on several grounds.

         First, the motion fails as a matter of law. It is well settled that Defendants have no standing

 to quash subpoenas served on third-party banks and broker-dealers because they have no privacy

 or privilege over the financial records subpoenaed, which are business records of non-parties. The

 motion for a protective order is also procedurally defective, as Defendants failed to confer with

 Plaintiff as required under Rule 26(c) and the local rules. Finally, the Motion is untimely, since

 Defendants were notified of the subpoenas and provided with all productions for months and took

 no action. Tellingly, Defendants filed this Motion only after impeaching information was

 uncovered through the same third-party discovery they seek to quash now.

         Second, the motion is substantively frivolous. Defendants’ argument is basically that

 arbitration deprives the Court of jurisdiction. But prevailing caselaw teaches that courts retain the

 authority to issue injunctive relief and order discovery to aid arbitration. The Court has also

 consistently affirmed that the TRO that ordered third-party discovery is still in full force.

         Third, Defendants have failed to meet the high burden of demonstrating good cause for a

 protective order. Rather, they relied solely on falsehoods and assertions of harm with zero evidence.

 And, undermining their unsupported grievances, no subpoenas would have been served had they

 simply produced the TRO-ordered information, which they never did and, apparently, never will.



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                                     II.    ARGUMENT

 A.     The Motion Fails as A Matter of Law, Under Rule 26(c), And The Local Rules.

        1.      Defendants Have No Standing to Quash Subpoenas To Financial Institutions.

        It is well established that, absent a demonstration of a “personal right or privilege with

 respect to the materials subpoenaed,” a party has no standing to challenge a subpoena directed to

 a non-party. Popoli v. Ft. Myers Lodge #1899 Loyal Ord. of Moose, Inc., 2015 WL 9031929, at

 *2 (M.D. Fla. Dec. 16, 2015).

        In Florida federal courts, “Defendants do not have standing under rule 45 to quash the

 subpoenas regarding [their] financial records.” Id. at 3 (collecting cases); see also Zurich Am. Ins.

 Co. v. Hardin, 2019 WL 3082608, at *2 (M.D. Fla. July 15, 2019) (same) (“Zurich”); Patel v. Fed.

 Ins. Co., 2024 WL 916558, at *2 (M.D. Fla. Mar. 4, 2024) (same). This is because Defendants, as

 customers of the financial institutions, have “no legitimate expectation of privacy in the contents

 of … banking documents subpoenaed.” Auto-Owners Ins. Co. v. Southeast Floating Docks, Inc.,

 231 F.R.D. 426, 429 (M.D. Fla. 2005).

        This is the case here. The financial documents subpoenaed are business records of non-

 parties. Defendants have not shown any expectation of privacy in those records. Nor could they.

 Accordingly, Defendants lack standing to quash the subpoenas.

        2.      Defendants Failed to Satisfy the Meet and Confer Requirement And To
                Include the Requisite Certification.

        Pursuant to Federal Rule of Procedure 26(c), a motion to quash and/or for a protective order

 “must include a certification that the movant has in good faith conferred or attempted to confer

 with other affected parties in an effort to resolve the dispute without court action.”

        No such certification was attached to the Motion. Indeed, Defendants did not meet and

 confer with Plaintiff regarding this Motion. They did not even try. Plaintiff first became aware of



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 the motion when it received its NEF from ECF. Defendants’ failure to confer, on its own, warrants

 denial. See AmTrust Bank v. Alvarez, 2020 U.S. Dist. LEXIS 142008 (S.D. Fla. Aug. 10, 2020)

 (denying the motion for protective order due to its failure to include the requisite certification)

 (“AmTrust Bank”); In re Antonio, 642 B.R. 337, 338 (Bankr. M.D. Fla. 2022) (the court “would

 be required to deny the proposed motion for protective order” without the requisite certification).

        Moreover, by failing to include a meet and confer certification, Defendants also failed to

 comply with Southern District of Florida Local Rule 7.1(a)(3), which requires that:

        Prior to filing any motion in a civil case . . . counsel for the movant shall confer
        (orally or in writing), or make reasonable effort to confer (orally or in writing), with
        all parties or non-parties who may be affected by the relief sought in the motion in
        a good faith effort to resolve by agreement the issues to be raised in the motion. ...

 “This rule, which ‘ha[s] the force of law’ and should be followed.” AmTrust Bank, at *2 (citing

 cases). “Failure to comply with the requirements of this Local Rule may be cause for the Court to

 grant or deny the motion and impose on counsel an appropriate sanction, which may include an

 order to pay the amount of the reasonable expenses incurred because of the violation, including a

 reasonable attorney’s fee.” Local Rule 7.1(a)(3).

        3.      The Motion is Untimely and Unconscionable.

        “[A] motion for a protective order is generally untimely if it is made after the date the

 discovery material was to be produced.” Partners Insight, LLC v. Gill, 2023 WL 5352310, at *5

 (M.D. Fla. Aug. 21, 2023) (citing Laughon ex rel. Laughon v. Jacksonville Sheriff's Off., 2007 WL

 1247305, at *2 (M.D. Fla. Apr. 30, 2007)).

        Defendants were notified of the subpoenas and were aware of the production due dates.

 Defendants were also given all subpoena productions. They did nothing for months. It was only

 after Plaintiff’s recent submissions to the Court containing damning evidence against Defendants




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 revealed by the subpoenas and impeaching their on-the-record representations to the Court, that

 Defendants now seek to quash. The Motion should be denied as untimely.

        The motion is also unconscionable, given its purpose is to shield from the Court evidence

 of Defendants’ false statements to the Court and violation of the TRO.

 B.     The Arbitration Agreement Did Not Deprive This Court of Jurisdiction to Order
        Injunctive Relief And Accompanying Discovery.

        Defendants’ only legal argument supporting their motion is that arbitration deprives the

 Court of jurisdiction over the entire matter. See Mot. at 4-5. Defendants did not cite a single case

 directly to the point to support this assertion, and the law is the opposite.

        As detailed in Plaintiff’s Motion for Contempt, regardless of whether this case remains in

 court or proceeds to arbitration, the Court retains its authority to issue injunctive relief, pursuant

 to which the third-party subpoenas were issued. See Dkt No. 34, at 5-6 (citing Jeremiah's Int'l

 Trading Co., Inc. v. Ren Media Grp. USA, Inc., 2017 WL 5900111, at *4 (M.D. Fla. Nov. 14,

 2017), report and recommendation adopted, 2017 WL 5889756 (M.D. Fla. Nov. 29, 2017)

 (granting preliminary injunctive relief where the arbitration agreement is silent as to whether the

 injunctive relief should be determined in arbitration); see also American Express Financial Adv.

 v. Makarewicz, 122 F.3d 936, 940 (11th Cir. 1997) (reversing denial of preliminary injunction

 premised on a finding that injunctive relief was reserved for the arbitrator and instructing district

 court to rule substantively on injunctive relief)).

        Indeed, because Defendants inserted the arbitration clause while the TRO was in force and

 did not specifically exclude the Court’s authority on this matter, these principles apply with greater

 force. Id. (citing Merrill Lynch, Pierce, Fenner & Smith Inc. v. Dunn, 191 F. Supp. 2d 1346, 1350

 (M.D. Fla. 2002) (“[the] contract is silent on the topic of the issuance of an injunction in order to

 maintain the status quo pending arbitration,” “even though his agreement specifies that all disputes


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 shall be settled by arbitration, this Court has the authority to issue an injunction pending arbitration

 in order preserve the status quo and to ensure that the parties get a meaningful arbitration of their

 dispute.”) (citation omitted); see also Jameson v. Pine Hill Dev., LLC, 2007 WL 623807, at *2

 (S.D. Ala. Feb. 23, 2007) (where an agreement provides that “[a]ny dispute or claim between the

 parties which shall arise from or [is] related in any way to this contract shall be submitted to

 arbitration,” holding that “the existence of an arbitration provision that may govern this dispute in

 no way impairs the Court’s authority to grant preliminary injunctive relief to preserve the status

 quo pending arbitration ... .”)).

         In sum, arbitration is a creature of contract. Here, Defendants contracted for arbitration

 while the TRO that ordered third party discovery was pending. Yet the agreement: (i) explicitly

 provided that this case would not end until the settlement was fully performed; and (ii) did not

 deprive the court of jurisdiction to enforce injunctive relief. Accordingly, arbitration does not

 deprive this court of jurisdiction.

         Finally, the Court has repeatedly affirmed that the TRO remains in full force. In the recent

 Report and Recommendation, the Court acknowledged:

         While the temporary restraining order was entered early in this case’s proceedings,
         it has remained valid and in effect past the typical length of time for temporary
         restraining orders. Its duration was initially extended in preparation for a
         preliminary injunction hearing. Then the order was left in place due to the parties
         entering into a settlement agreement that required essentially the same performance
         as ordered in the temporary restraining order and included an arbitration clause.

 Dkt No. 69, at 4. The Court then concluded that “the entry of the temporary restraining

 order, which has never been dissolved and remains in force, provides this Court with

 jurisdiction such that the undersigned recommends the Court deny the portion of

 Defendants’ motion that moves to dismiss the case for lack of jurisdiction.” Id. at 4-5

 (emphasis added).


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        Accordingly, the TRO remains in full force and effect and the Court retains jurisdiction

 over matters related to it, including discovery conducted pursuant to the TRO. Further, the

 Settlement Agreement itself says this case should not be dismissed unless and until Defendants

 deliver the shares to Plaintiff, which it has not done and apparently now cannot be, given that

 Defendants have already sold half of the shares and no longer possess them.

 C.     Defendants Have Failed to Show Good Cause for A Protective Order.

        Under Rule 26(c), “the court where the action is pending . . . may, for good cause, issue an

 order to protect a party or person from annoyance, embarrassment, oppression, or undue burden

 or expense.” Fed. R. Civ. P. 26(c)(1). “When evaluating whether a movant has satisfied his burden

 of establishing good cause for a protective order, a court should balance the non-moving party’s

 interest in obtaining discovery against the moving party’s harm that would result from the

 discovery.” Zurich, at *4-5 (citing Farnsworth v. Procter & Gamble, Co., 758 F.2d 1545,

 1547 (11th Cir. 1985).

        Here, the purported harm to Defendants is (i) the result of their own failure to produce the

 same subpoenaed information; (ii) unsupported; and (iii) outweighed by Plaintiff’s strong interest

 in discovery and the interest of justice.

        1.      Defendants Could Have Avoided All Third-Party Discovery By Producing
                Information Themselves.

        As a threshold matter, Defendants’ own failure to produce the TRO-mandated discovery

 necessitated the third-party subpoenas. The TRO is clear:

        Defendants shall produce, within five (5) days of service of this Order, documents
        sufficient to identify the shares of Shengfeng Development Ltd or, if any such
        shares have been disposed of, any and all monies or assets directly flowing from
        the sale of such shares, anywhere in the world, currently under their direct or
        indirect control, including, for every bank account or other financial account: the
        bank or entity, its location, the account holder's name, the account number, and the
        current balance; and for every other type of asset, a description of the asset, its
        location, and its actual or estimated value.

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 Dkt No. 16, at 2-3 (emphasis added).

        Defendants have not produced any information at all. This failure forced Plaintiff to issue

 subpoenas to third parties. Had Defendants complied with the TRO and produced the required

 documents, Plaintiff would not have needed to issue the subpoenas at all.

        Defendants also claimed that Plaintiff’s discovery efforts violate the Settlement Agreement.

 Mot. at 6. This argument is a non-starter. It is unclear which provision of the Settlement Agreement

 Defendants allege has been breached. In fact, the Settlement Agreement itself requires Defendants

 to produce documents in relation to the SF shares. Dkt 31-2 § 2 (“Settlement production.

 Defendants agree to produce evidence showing that they did not profit from trading SF stock, but

 rather suffered substantial losses going ‘long’ on SF.”)

        Because Defendants’ failure to produce necessitated the subpoenas, and a TRO and

 Settlement-compliant production by Defendants could have (and still can) end third party

 discovery at any time, the ability to end any purported “harm” is entirely within Defendants’

 control. Defendants have not shown good cause for a protective order.

        2.      Defendants’ Unsupported Assertions And Speculation Fail to Establish Harm.

        “It is the movant’s burden to establish that compliance with a subpoena would result in an

 undue burden.” Zurich, at *6 (citing Eastwood Enters., LLC v. Farha, 2010 WL 11508180, at *4

 (M.D. Fla. Apr. 26, 2010)). “The party requesting a protective order must make a specific

 demonstration of facts in support of the request as opposed to conclusory or speculative statements

 about the need for a protective order and the harm which will be suffered without one.” Stansell v.

 Revolutionary Armed Forces of Colom., 2022 WL 7030665 (S.D. Fla. Oct. 12, 2022) (citing

 McBride v. Walmart Stores E., L.P., 2020 WL 8911052, at *1 (S.D. Fla. Feb. 4, 2020)). “This is a




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  heavy burden, and a court generally should not prohibit [discovery] ‘[a]bsent a strong showing of

  good cause and extraordinary circumstances.’” Id.

          Defendants claimed four harms supposedly caused by the subpoenas, but these claims are

  either outright false (i.e. provably didn’t happen), irrelevant, or are completely unsupported.

          First, Defendants first alleged that certain banks and broker-dealers subpoenaed closed

  their accounts or have refused to work with them. Mot. at 3. However, Plaintiff never subpoenaed

  four of the entities identified, including Axos Commercial Banking, TradeStation, Centerpointe,

  and National City Bank of Florida. The fact that entities that have never been subpoenaed refused

  to work with Defendants cannot be a harm caused by the subpoenas.

          Nor did Plaintiff request any entities close Defendants’ accounts or cease working with

  them. Plaintiff’s subpoenas were issued in strict compliance with the TRO, seeking only

  (1) restriction on transfer of SF shares and assets derived from them; and (2) production of

  documents in relation to the SF shares at issue. Defendants’ assertions also defy common sense.

  Financial institutions receive subpoenas all the time and do not close the subpoenaed party’s

  accounts. The fact that accounts have been closed suggests that Defendants have violated the

  financial institutions’ polices, rather than any problem with routine third-party discovery.

          Second, Defendants suggested that alleged account disclosures have disrupted Liqueous’

  business, and “Liqueous may not survive” without a protective order. Mot. at 3-4. They also

  claimed that “Liqueous cannot execute a strategy that it offered to customers,” which “generated

  substantial revenue” in the past. Id.

          However, Defendants did not bother to explain the nature of their “strategy,” what kind of

  “customers” they serve, or how and why such strategy is impacted by subpoenaed disclosures. If

  their strategy is to steal stock, hide it at numerous third-party brokerages, sell it, then open up other



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  brokerage and banking accounts to launder the ill-begotten proceeds (which appears to be the case

  from existing productions), that is illegal.

         Third, Defendants claimed that Plaintiff issued a subpoena to Defendant Fernane’s father.

  There’s no proof of this. In fact, Plaintiff has not issued subpoenas to any individuals. Plaintiff

  has only issued subpoenas to financial institutions. Yet again, Defendants are lying to the Court.

         Because Defendants knew who was subpoenaed and when, and also received a copy of all

  information produced, Defendants’ above-listed falsehoods about what banks or individuals were

  subpoenaed were not accidental, but were meant to prejudice the Court. Indeed, if it is truly the

  case that someone is trying to serve Defendants at Defendant Fernane’s father’s address, that can

  only mean additional lawsuits against them have been filed by other victims.

         Finally, Defendants also alleged that over 50 bridge financing applications were denied

  due to the subpoenas. But Defendants failed to supply facts such as when these applications were

  made, at which banks, and the reasons for denial. Defendants did not even provide copies of the

  supposed denials.

         “[G]eneralized concerns, conclusory statements, or unsupported contentions are

  insufficient reasons for entry of a protective order. The moving party must demonstrate good cause

  with evidentiary support that each responsive document that is withheld is truly confidential and a

  specific harm would result from its disclosure or loss of confidentiality.” McArdle v. City of Ocala,

  FL, 463 F. Supp. 3d 1288, 1289 (M.D. Fla. 2020). Defendants have done none of this.

         3.      Plaintiff Has A Strong Interest in Obtaining Discovery.

         Here, consistent with the goal of the TRO, Plaintiff’s interest in obtaining discovery relates

  not only to proving its case, but also to locating the 2.5 million SF shares and preventing further

  dissipation of the shares to facilitate a meaningful recovery. In this context, “Plaintiff’s interests



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  are important, and great care must be taken to avoid their unnecessary infringement.” Popoli v. Ft.

  Myers Lodge #1899 Loyal Ord. of Moose, Inc., 2015 WL 9031929, at *4 (M.D. Fla. Dec. 16, 2015)

  (internal citation omitted).

         Indeed, subpoena productions have affirmed the need for third-party discovery. As detailed

  in contempt filings, recent subpoena productions from Citibank have revealed that Defendants

  have been deceiving Plaintiff and the Court for months. As even the Settlement Agreement

  represents, under the heading “Representations and Warranties”:

         After the 2,500,000 shares of SF stock. were transferred to an account under Mid-
         Castle's name at an omnibus account at Citi Bank neither Defendant has, either
         directly or through its officers, directors, employees, agents, subsidiaries,
         distributors, and any persons in active concert or participation with any Defendant,
         traded, assigned, bartered, conveyed, destroyed, encumbered, hypothecated,
         liquidated, mortgaged, pledged, sold, transferred, dissipated, disbursed, damaged,
         or in any other manner disposed of any portion of the 2,500,000 shares of SF stock[.]

  Dkt. 31-2 § 8(iv). Contrary to this and numerous other representations to the effect that they were

  holding the shares and could return them at any time, Defendants sold at least half of the shares

  for millions in profits within a month after they took the shares. Dkt. No. 67 (Further Supplemental

  Declaration ISO contempt). The rest of the shares went out to numerous brokerages, who are being

  subpoenaed to produce information about what happened to the shares.

         It is not surprising that Defendants want to stop more third party productions, but their

  numerous lies to date, including in the instant motion itself, confirm that continued third-party

  discovery is essential to getting to the truth here, because the truth is surely not going to come from

  Defendants themselves.

                                      III.    CONCLUSION

         For the foregoing reasons, Defendants’ Motion should be denied. Plaintiff also requests

  fees for responding to this motion filed absent a meet and confer.



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        Respectfully submitted this 30th day of August, 2024.

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